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U.S. DISTRICT COURT
DISTRICT OF VERMONT

UNITED STATES DISTRICT COURT PILED
FOR THE PH 3:31
DISTRICT OF VERMONT 2018 JUL 12
UNITED STATES OF AMERICA NN

Criminal No. 5: (@-ck -2e-!

Vv.

CHRISTOPHER MAIN
Defendant

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INDICTMENT
Count 1

The Grand Jury charges that:

Between in or about June 14, 2018 and in or about June 15, 2018, in the District of
Vermont, the defendant, CHRISTOPHER MAIN, unlawfully and knowingly used and
maintained a place located at 217 Washington Avenue, Bennington, Vermont, for the purpose of
using and distributing cocaine, a Schedule II controlled substance, and fentanyl, a Schedule II

controlled substance.

(21 U.S.C. § 856(a)(1))

A TRUE BILL

 

 

FOREPERSON

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CHRISTINA E. NOLAN (JJB)
United States Attorney
Burlington, Vermont

July 12, 2018
